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      8                        UNITED STATES DISTRICT COURT
      9                       CENTRAL DISTRICT OF CALIFORNIA
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     11   NATIONAL CREDUT UNION                   Case No. CV 11-5887-GW(JEMx)
          ADMINISTRATIVE BOARD,
     12
                             Plaintiff,
     13                                             ORDER TO DISMISS WITH
                v.                                  PREJUDICE
     14
          RBS SECURITIES, INC., et al.,
     15
                             Defendants.
     16

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                Based upon the stipulation between the parties and their respective counsel,
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          it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
     20
          Each party will bear its own attorneys’ fees and expenses.
     21
                IT IS SO ORDERED.
     22

     23
          Dated: November 22, 2016
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                                                _________________________________
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                                                HONORABLE GEORGE H. WU
     26                                         UNITED STATES DISTRICT JUDGE
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